                                   Case 2:22-cv-00180-MEMF-AFM Document 32-2 Filed 04/20/23 Page 1 of 5 Page ID #:272


                                                                                                  Joint Statement of Uncontroverted Facts and Genuine Disputes
                                                                                                  Crabree v. Kirkman et al., Case No. 2:22-cv-00180-MEMF (AFMx)

                                 Undisputed Fact                                                        Status                                                    Opposition                                                               Reply
1. Defendant Robert Kirkman is a comic book author and a television and film           1. Undisputed.
producer. Declaration of Robert Kirkman ("Kirkman Decl.") ¶¶ 1-2.
2. Robert Kirkman, LLC is Kirkman's loan-out company. Kirkman Decl. ¶ 3.               2. Undisputed.
3. Kirkman is the co-creator and author of the comic book and graphic novel series     3. Disputed.                                 Kirkman, Walker and Crabtree are the co-creators and co-authors of          Whether Crabtree also co-created Invincible under
Invincible , which was first published in January 2003. Kirkman Decl. ¶ 4.                                                          the Work. Scott Decl. Ex. 16 [Response to SROG Nos. 1-2].                   Copyright Law is a legal conclusion and argumentative.

                                                                                                                                                                                                                Objection: legal conclusion (FRE 701, Nationwide Transp.
                                                                                                                                                                                                                Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051, 1059 (9th Cir.
                                                                                                                                                                                                                2008)), argumentative (FRE 403)



4. Kirkman co-created Invincible with artist Cory Walker. Kirkman Decl. ¶ 5.           4. Disputed.                                 Kirkman, Walker and Crabtree are the co-creators and co-authors of          See reply to UF 3.
                                                                                                                                    the Work. Scott Decl. Ex. 16 [Response to SROG Nos. 1-2].

5. Plaintiff William Crabtree was a colorist on some issues of Invincible . Kirkman    5. Disputed.                                 Kirkman, Walker and Crabtree are the co-creators and co-authors of          There is no dispute of fact. Crabtree was the colorist on
Decl. ¶ 6.                                                                                                                          the Work. Crabtree was much more than simply a "colorist on some            some issues of Invincible , which he states in Ex. 16, p.
                                                                                                                                    issues of Invincible," as he created the foundational design and artistic   3:28-4:1. Crabtree's response is a legal conclusion and
                                                                                                                                    elements of the Work, including the unique color schemes and                argumentative.
                                                                                                                                    arragnements still in use on the Work to this day. Scott Decl. Ex. 16
                                                                                                                                    [Response to SROG Nos. 1-2].                                                Objection: legal conclusion (FRE 701, Nationwide Transp.
                                                                                                                                                                                                                Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051, 1059 (9th Cir.
                                                                                                                                                                                                                2008)), argumentative (FRE 403)


6. In the comic book industry, an author writes the story and dialogue, and the art on 6. Disputed.                                 The process of creation of comic books and, in particular, Invincible, is There is no dispute of fact. The fact refers to the typical
the pages is typically created in steps. A penciller draws the images, an inker traces                                              much more collaborative than this indicates with the author, artist and process. Crabtree's response is a legal conclusion and
the images and adds additional detail, a letterer adds dialogue to word balloons, and                                               colorist providing continuous and ongoing feedback to one another on argumentative.
then a colorist adds colors. Declaration of Allen B. Grodsky ("Grodsky Decl."), ¶ 2,                                                the various elements of the work and engaging in a true "give and
Ex. 4, Deposition Transcript of Robert Kirkman ("Kirkman Depo.") 24:2-25:20.                                                        take" process and ultimately combing all elements into a unified whole. Objection: legal conclusion (FRE 701, Nationwide Transp.
                                                                                                                                    . Scott Decl. Ex. 16 [Response to SROG Nos. 1-2]; Ex. 14 [Crabtree Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051, 1059 (9th Cir.
                                                                                                                                    DT 65:8-75:18].                                                           2008)), argumentative (FRE 403)


7. Crabtree was the third person to work as the colorist on Invincible and eventually 7. Undisputed that Crabtree was the colorist Crabtree was the colorist on the very first issue and developed the          There is no dispute of fact. The cited evidence proves
colored Issues 1 through 50. Kirkman Decl. ¶ 6; Kirkman Depo. 17:12-18, 22:16-24, on Issues 1 through 50, but disputed that          foundational concepts for the color schemes and arrangements used          that, though Crabtree colored the first issue, two other
45:24-46:1.                                                                           Crabtree was the third colorist on Invincible. throughout the Work as a whole. Scott Decl. Ex. 16 [Response to            people colored Invincible before Crabtree, and Crabtree
                                                                                                                                     SROG Nos. 1-2].                                                            offers no proof to the contrary.

8. Beginning with the first issue, for each issue of Invincible for which Crabtree   8. Disputed.                                   The cover and interior credit pages identify with equal billing and equal There is no dispute of fact. Crabtree does not dispute that
provided coloring services, Kirkman and Walker were credited as “Creators” of                                                       prominence Kirkman, Walker and Crabtree. Scott Decl. Ex. 22               the pages cited as Exhibit 1 refer to Kirkman and Walker
Invincible , but Crabtree was credited below them as “Colorist.” Kirkman Decl. ¶ 7 &                                                [Invincible Covers]; Kirkman Decl. Ex. 1.                                 as "creators" but Crabtree as "colorist."
Ex. 1.

9. Crabtree was never listed as a co-creator of Invincible . Kirkman Decl. ¶ 7 & Ex.   9. Disputed.                                 The cover and interior credit pages identify with equal billing and equal There is no dispute of fact. Crabtree does not dispute that
1.                                                                                                                                  prominence Kirkman, Walker and Crabtree. Scott Decl. Ex. 22               he was never listed as a "co-creator."
                                                                                                                                    [Invincible Covers]; Grodsky Decl. Ex. 1.

10. The issues also reflect that the copyright to Invincible is owned by Kirkman and   10. Disputed.                                The cover and interior credit pages identify with equal billing and equal There is no dispute of fact. Crabtree does not dispute that
Walker, none of them list Crabtree as copyright owner. Kirkman Decl. ¶ 8 & Ex. 1.                                                   prominence Kirkman, Walker and Crabtree. Scott Decl. Ex. 22               the issues attached as Exhibit 1 list Kirman and Walker as
                                                                                                                                    [Invincible Covers]; Kirkman Decl. Ex. 1.                                 owners of the copyright to Invincible , but not Crabtree.


11. Crabtree testified at his deposition that he was sent physical copies of every  11. Undisputed that Crabtree testified that                                                                                 There is no dispute of fact, and Kirkman did indeed present
issue of Invincible he worked on as well as copies of the trade paperbacks and hard he received copies of the issues of                                                                                         evidence as to the timing of when Crabtree received the
cover compilations. Declaration of Tim B. Henderson ("Henderson Decl.") ¶ 2 & Ex. Invincible that he worked on, but disputed                                                                                    physical copies. Crabtree testified that he received each
6, Deposition of William Crabtree ("Crabtree Depo.") 111:17-112:11.                 that this has any relevance to the statute of                                                                               issue before publication and he received about 20 copies
                                                                                    limitations issues as Kirkman has not                                                                                       after publication. Ex. 6, p. 111:8-112:6
                                                                                    provided any evidence as to when Crabtree
                                                                                    received these copies.
                                  Case 2:22-cv-00180-MEMF-AFM Document 32-2 Filed 04/20/23 Page 2 of 5 Page ID #:273


12. On or about July 14, 2005, Crabtree signed a Certificate of Authorship for his     11. Disputed.                               The Certificate of Authorship was not in exchange for Crabtree's       There is no dispute of fact. The fact is that Crabtree
services on Invincible . Crabtree Depo. 130:5-17 & Henderson Decl. Ex. 8 (marked                                                   services. Additionally, disputed that the Certificate of Authorship is signed the Certificate on or about July 14, 2005.
as Crabtree Depo. Ex. 20).                                                                                                         valid in any respect as it was procured by fraud and is regardless     Crabtree's response is irrelevant legal conclusions and
                                                                                                                                   legally invalid as it was never signed by Kirkman and was presented to argument.
                                                                                                                                   Crabtree long after Crabtree had made his contributions to the Work.
                                                                                                                                   Scott Decl. Ex. 14 [Crabtree DT 130:5-133:25]; Ex. 15 [Kirkman DT      Objection: legal conclusion (FRE 701, Nationwide Transp.
                                                                                                                                   41:5-18]; Ex. 17, 18 [Kirkman RFA Response Nos. 2-3, 5].               Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051, 1059 (9th Cir.
                                                                                                                                                                                                          2008)), argumentative (FRE 403)



13. The Certificate of Authorship includes clauses stating that the services rendered 12. Undisputed that document includes        The Certificate of Authorship was procured by fraud and is regardless There is no dispute of fact. Crabtree admits the Certificate
by Crabtree were on a work-for-hire basis, deemed Kirkman the “sole author” of        provisions that purport to provide for this, legally invalid as it was never signed by Kirkman and was presented to includes the cited portions. Crabtree's response is
Invincible , and “owner of all rights of every kind or nature.” See supra UF No. 12.  but DISPUTED that this represents the full Crabtree long after Crabtree had made his contributions to the Work. irrelevant legal conclusions and argument.
                                                                                      context and scope of the document and        Scott Decl. Ex. 14 [Crabtree DT 130:5-133:25]; Ex. 15 [Kirkman DT
                                                                                      DISPUTED that the Certificate of Authorship 41:5-18]; Ex. 17-18 [Kirkman RFA Response Nos. 2-3, 5].                 Objection: legal conclusion (FRE 701, Nationwide Transp.
                                                                                      is valid in any respect.                                                                                            Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051, 1059 (9th Cir.
                                                                                                                                                                                                          2008)), argumentative (FRE 403)




14. The Certificate of Authorship also contains an assignment that Crabtree           13. Undisputed that this accurately quotes The Certificate of Authorship was procured by fraud and is regardless See reply to UF 13.
“irrevocably and absolutely assign[s] to [Robert Kirkman, LLC] all of [Crabtree’s]    an excerpt from the document, but           legally invalid as it was never signed by Kirkman and was presented to
rights (copyrights, rights under copyright and otherwise, whether known now or in the DISPUTED that this represents the full      Crabtree long after Crabtree had made his contributions to the Work.
future) and all renewals and extensions thereof as may exist now or in the future, in context and scope of the document and       Scott Decl. Ex. 14 [Crabtree DT 130:5-133:25]; Ex. 15 [Kirkman DT
and to the Material throughout the universe and in perpetuity.” See supra UF No.      DISPUTED that the Certificate of Authorship 41:5-18]; Ex. 17-18 [Kirkman RFA Response Nos. 2-3, 5].
12.                                                                                   is valid in any respect.


15. The Certificate of Authorship also stated that Kirkman could “revise, change,      14. Undisputed that this accurately quotes The Certificate of Authorship was procured by fraud and is regardless See reply to UF 13.
modify, dramatize, fictionalize, add material to and/or remove material from the       an excerpt from the document, but           legally invalid as it was never signed by Kirkman and was presented to
Material as [Robert Kirkman, LLC] shall in its sole discretion deem appropriate, and   DISPUTED that this represents the full      Crabtree long after Crabtree had made his contributions to the Work.
to use, exploit and advertise the Material, in any form, manner and media, whether     context and scope of the document and       Scott Decl. Ex. 14 [Crabtree DT 130:5-133:25]; Ex. 15 [Kirkman DT
now known or hereafter devised, without any further obligation whatsoever to           DISPUTED that the Certificate of Authorship 41:5-18]; Ex. 17-18 [Kirkman RFA Response Nos. 2-3, 5].
[Crabtree] or any person or entity claiming through or on behalf of [Crabtree].” See   is valid in any respect.
supra UF No. 12.


16. Crabtree continued to color Invincible after signing the Certificate of Authorship. 15. Undisputed.
The final issue he colored, Issue 50, was published on June 11, 2008. Crabtree
Depo. 108:10-15, Kirkman Decl. ¶ 9 & Ex. 1, p. 13.

17. In February 2005, Kirkman entered a deal with Paramount for the possible           17. Undisputed.
creation of a motion picture based on Invincible . Kirkman Decl. ¶ 10.

18. Around this time, Kirkman made a payment to Crabtree from a portion of the         18. Undisputed.
Paramount payment. Kirkman Depo. 77:12-78:17.

19. In November 2007, Kirkman entered a deal with MTV for the creation of a motion 19. Undisputed.
comic based on Invincible . Kirkman Decl. ¶ 11.

20. Around this time, Kirkman made a payment to Crabtree. Kirkman Depo. 99:21-         20. Disputed.                               This payment was specifically and expressly made by Kirkman to          There is no dispute of fact. The fact is that Kirkman made
23.                                                                                                                                Crabtree for the MTV Motion Comic. Indeed, when remitting the           a payment to Crabtree around this time. Crabtree's
                                                                                                                                   payment, Kirkman stated "This is for the motion comic." Scott Decl. Ex. response is superfluous and argumentative.
                                                                                                                                   14 [Crabtree DT 118:5-119:16]
                                                                                                                                                                                                           Objection: argumentative (FRE 403)

21. On March 16, 2012 at 4:12 p.m., Crabtree wrote an email to Kirkman stating:         21. Undisputed.
"hey, i see invincible back issues are available on comixology. shouldn't i be getting
revenue for the first 50 issues that are being sold on there? this seems similar to the
mtv motion comics, which i received my share of.” Crabtree Depo. 152:18-25;
Henderson Decl. Ex. 9 (marked as Depo. Ex. 21, CRABTREE0003-4); Henderson
Decl. ¶ 7, Ex. 11 (Crabtree Resp. to RFA No. 4).
                                   Case 2:22-cv-00180-MEMF-AFM Document 32-2 Filed 04/20/23 Page 3 of 5 Page ID #:274


22. On March 17, 2012 at 12:42 a.m., Kirkman wrote an email to Crabtree stating:          22. Undisputed.
"The digital issues are reprints no different than the TPBs. You don't get any royalties
on single issues past your page rate. You didn't get 'your share' of the MTV motion
comics. I gave you a bonus because it was an adaptation directly using your work.
You signed a work for hire contract on Invincible . I've honored that contract. I'm sorry
to be so blunt, I just want to make sure we're on the same page here." See supra UF
No. 21.

23. On March 17, 2012 at 12:56 a.m., Crabtree wrote an email to Kirkman stating:        23. Undisputed.
"that's bullshit, man. you can couch it any way it makes you feel better." See supra
UF No. 21.

24. On March 17, 2012 at 1:06 a.m., Kirkman wrote an email to Crabtree stating: "I'm 24. Undisputed.
sorry you feel that way, Bill. But I don't owe you anything. I paid you for your work
and even paid you advances for years when you needed money sooner. I did right
by you. You did the work with the understanding that you weren't getting royalties
beyond your page rate. I find it odd that you'd complain about that now. You did work
that you were paid for. What's suddenly different?" See supra UF No. 21.



25. On March 17, 2012 at 1:07 a.m., Crabtree wrote an email to Kirkman stating:         25. Undisputed.
"can we talk person to person?" See supra UF No. 21.

26. Crabtree had one oral conversation with Kirkman from January 1, 2009 to the         26. Undisputed.
present, which occurred on March 17, 2012, the date of the emails referenced in
facts 22-25. Henderson Decl. ¶ 8, Ex. 12 (Crabtree Resp. to SPI 11).


27. Crabtree stated that during the March 17, 2012 telephone call "Crabtree             27. Undisputed.
contended that the digital distribution of Invincible constituted single issue sales of
the work to which he was entitled to a percentage of proceeds generated above and
beyond the $40 per page minimum. Kirkman disagreed, contending that the digital
distribution of Invincible constituted 'reprints' which, according to Kirkman, were not
considered 'single issue sales' under the parties’ agreement and that Crabtree had
purportedly signed what Kirkman described as a 'work for hire contract' that
governed copyright ownership of and revenues generated concerning Invincible that
was not otherwise covered by the parties’ agreement. Kirkman analogized the digital
distribution of the static comics to the reissues of Invincible in the motion comic
format, to which Kirkman contended that payments to Crabtree were simply
'bonuses,' not payments pursuant to the parties’ agreement. Kirkman held to his
position with respect to the digital distribution of Invincible not constituting single
issue sales under the parties’ agreement. Kirkman told Crabtree that he 'felt bad'
because Kirkman was now very successful, but that he would attempt to get
Crabtree additional colorist opportunities on other projects on which Kirkman was
involved." Henderson Decl. ¶ 8, Ex. 12 (Crabtree Resp. to SPI 12).



28. Separately, in February 2012 shortly before Crabtree sent his email, Kirkman        28. Undisputed.
had been sued by Tony Moore, who had worked as an artist on another Kirkman
comic, The Walking Dead. Complaint ¶ 2 & n.1 (Dkt. 1) & Request for Judicial
Notice ("RJN") Ex. 13.

29. On March 17, 2012 at 1:02 a.m., Crabtree wrote an email to Kirkman stating:         29. Undisputed.
"this is the same work for hire contract tony is suing you over at the momen[t],
correct?” Kirkman Decl. ¶ 12, Ex. 2 (RK01906).

30. And in his Complaint in this case, Crabtree expressly connected his claims and 30. Disputed that Crabtree "connected his   The Complaint references the Moore lawsuit against Kirkman, but      There is no dispute. Crabtree admits his Complaint
Moore’s earlier claims against Kirkman. Crabtree alleged that “Kirkman was sued by claims and Moore's earlier claims against   merely to show Kirkman's propensity for deceit and exploitation of   references Moore's earlier lawsuit.
Mr. Moore in 2012 based on allegations of Kirkman fraudulently wresting Mr. Moore’s Kirkman."                                  artists. (Complaint ¶ 2, fn. 1.)
copyright ownership rights in The Walking Dead series that are shockingly similar to
Mr. Crabtree’s allegations herein.” Complaint ¶ 2 n.1.


31. Mr. Moore was represented in that case by Devin McRae, Crabtree’s counsel           31. Undisputed.
here. RJN Ex. 13, p. 1.
                                    Case 2:22-cv-00180-MEMF-AFM Document 32-2 Filed 04/20/23 Page 4 of 5 Page ID #:275


32. On August 25, 2020 at 3:30 p.m., Crabtree wrote an email to Kirkman stating:         32. Disputed.        The referenced email was not sent on August 25, 2020. Grodsky Decl. There is no material dispute of fact but an irrelevant
"Please don't ignore me. If you don't have time to deal with this, please refer me to                         Ex. 5.                                                              typographical error. The referenced email was written on
someone who does. I am well within my rights to request a copy of whatever                                                                                                        August 26, not August 25, but the difference is immaterial.
agreement it was I signed. I'd rather not have this out publicly, but if you don't
respond I won't have much choice." Kirkman Depo. 85:2-7 & Grodsky Decl. Ex. 5
(marked as Kirkman Depo. Ex. 36).

33. On August 26, 2020 at 6:10 p.m., Kirkman wrote an email to Crabtree stating:        33. Undisputed.
"I'm not ignoring you. My lawyers are working remotely and it's taking some time to
dig this up. With texts accusing me of 'tricking' you into signing a contract and
phrases like 'have this out publicly' I am curious what's going on with you." See supra
UF No. 32.

34. On August 26, 2020 at 6:25 p.m., Crabtree wrote an email to Kirkman stating:            34. Undisputed.
"Nothing particularly going on. When you gave me that to sign you said, 'our deal's
the same, it's just that Hollywood people don't want to deal with multiple creators so
this just says you don't own invincible '. I took your word for it and thought nothing
more if it. Then, we talked 8 years ago or whenever that was and I referenced the
money you gave me for the mtv motion comic. I said 'you gave me my share for that'
and you said, 'that wasn't your share, that was a bonus, you signed that work for hire
agreement, remember?' . So that's what I mean by you tricking me into signing it. I
apologize for the tone of my previous text, it wasn't helpful. The truth is I have a lot of
bottled up feelings about all of this and it came out when I made the decision to
broach the subject with you. As far as having it out in public, what I meant is that if I
couldn't address this with you directly, I would at least have the option of telling my
story publicly. This is that story: My deal on invincible was 20% of single issue sales
and 10% of any ip money. You frequently told me I could trust you and that you'd
sign something to the effect of the above mentioned deal. I was foolish not to take
you up on that. In my opinion some sort of profit sharing of money from the ip would
be the fair and honorable thing to do, considering our initial verbal agreement. When
I realized that I had unknowingly signed a work for hire agreement, I assumed that
you would try to avoid sharing any profit with me. Perhaps I was mistaken in that
assumption, I don't know. We didn't part in the best of terms, but I would love to
discuss all of this in a civil way. I regret the snarky tone of my text. Having said all of
that, I do intend to have a lawyer look at what I signed and tell me what my options
are. If you want to settle this in a way that seems fair to me I'm cool with that too."
See supra UF No. 32.



35. On August 31, 2020 at 10:11 a.m., Kirkman wrote an email to Crabtree stating: 35. Undisputed.
"See the attached signed agreement. I'm sorry you're upset over this issue. I can
see why you are, from your point of view, but you need to understand this was 16
years ago whenever these conversations would have taken place. I have never
given a colorist a stake in media rights on ANY project I've ever done in my entire
career. I remember talking to Cory at the time about how weird it was the Phil and
Andy gave you that deal on FireBreather. I can only assume you're misremembering
conversations about FireBreather and applying them to Invincible ." See supra UF
No. 32.


36. On August 31, 2020 at 11:43 a.m., Crabtree wrote an email to Kirkman stating:        36. Undisputed.
"Ok I appreciate you getting back to me. One of us is certainly misremembering
things. Do you remember giving me a portion of the option money for invincible the
last time it was optioned?" See supra UF No. 32.

37. On August 31, 2020 at 11:56 a.m., Kirkman wrote "I remember giving you a          37. Undisputed.
bonus while you were still coloring the book, as I explained on the phone 8 years ago
when we spoke. I wish you well." See supra UF No. 32.

38. In 2006, Kirkman sent Crabtree emails about the creation of toys based on an         38. Disputed.        Crabtree was copied on an email wherein Kirkman discussed the               There is no dispute of fact. The fact is that Crabtree was
Invincible character. Kirkman Decl. ¶ 13, Ex. 3 (RK01398-400).                                                design for potential toys relating to Invincible characters, but there were copied on emails about the creation of toys based on
                                                                                                              no communications about the actual creation, manufacture or sale of Invincible . Crabtree does not dispute this and, in fact, his
                                                                                                              any such toys. Kirkman Decl. Ex. 3 (RK01398-400).                           expert's report included revenues from sales of Invincible
                                                                                                                                                                                          merchandise.
                                     Case 2:22-cv-00180-MEMF-AFM Document 32-2 Filed 04/20/23 Page 5 of 5 Page ID #:276


39. Crabtree was also aware of hardcover versions and collections of Invincible           39. Undisputed.
comic books. Crabtree colored the cover of several of the hardcover editions. A
2009 email shows Crabtree emailing Kirkman and Ryan Ottley (the artist who
replaced Walker on Invincible ) and asking when Kirkman wanted Crabtree to be
done coloring the covers for the hardcovers. Crabtree Depo. 108:16-109:1 &
Henderson Decl. Ex. 7 (marked as Crabtree Depo. Ex. 18, RK01696).



40. Crabtree also provided photographs for the biographical section. Kirkman Decl. ¶ 40. Undisputed.
14.

41. Crabtree testified at his deposition about categories of payments he received on 41. Undisputed.
Invincible and did not mention being paid for toys. Crabtree Depo. 118:5-119:10.


42. Crabtree also testified repeatedly at his deposition that he was not given and had 42. Undisputed.
not been paid royalties for trade paperbacks or hardcovers. Crabtree Depo. 53:7-
24, 109:2-14, 111:5-7.


43. On January 9, 2022, Crabtree filed suit alleging claims for declaratory relief,       43. Undisputed
promissory fraud, breach of oral contract, common count, and accounting.
Complaint, Dkt. 1.


                                                                                                             Conclusions of Law
                                                           Conclusions of Law                                                     Relevant Facts
Crabtree's first claim for declaratory relief is barred by the statute of limitations.                               Facts 8-42



Crabtree's second claim for promissory fraud is barred by the statute of limitations.                                Facts 8-42



Crabtree's third claim for declaratory relief is barred by the statute of limitations.                               Facts 8-42



Crabtree's fourth claim for breach of oral contract is barred by the statute of limitations.                         Facts 8-42



Crabtree's fifth claim for common counts, money had and received, is barred by the statute of limitations.           Facts 8-42



Crabtree's sixth claim for accounting is barred by the statute of limitations.                                       Facts 8-42



The continuing violation and continuing accrual doctrine does not apply to save Crabtree's claims.                   Facts 8-42



Equitable tolling does not apply to save Crabtree's claims.                                                          Facts 8-42



Crabtree is not entitled to a share of royalties from sales of trade paperbacks of Invincible .                      Facts 8-42
